

Matter of Cicchino (2024 NY Slip Op 03579)





Matter of Cicchino


2024 NY Slip Op 03579


Decided on July 3, 2024


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:July 3, 2024

PM-128-24
[*1]In the Matter of John Cicchino, an Attorney. (Attorney Registration No. 2869675)

Calendar Date:July 1, 2024

Before:Egan Jr., J.P., Aarons, Pritzker, Ceresia and McShan, JJ.

Witman Stadtmauer, P.A., Florham Park, New Jersey (Tara S. Sinha of counsel), for respondent.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
John Cicchino was admitted to practice by this Court in 1998 and lists a business address in Roseland, New Jersey with the Office of Court Administration. Cicchino now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Cicchino's application.
Upon reading Cicchino's affidavit sworn to May 22, 2024 and filed May 31, 2024, and upon reading the June 25, 2024 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Cicchino is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Egan Jr., J.P., Aarons, Pritzker, Ceresia and McShan, JJ., concur.
ORDERED that John Cicchino's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that John Cicchino's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that John Cicchino is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Cicchino is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that John Cicchino shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








